Matthew W. Claman, ABA No. 8809164
Brewster H. Jamieson, ABA No. 8411122
LANE POWELL LLC
301 West Northern Lights Boulevard, Suite 301
Anchorage, Alaska 99503-2648
Telephone: (907) 264-3311
Facsimile: (907) 276-2631
Email:       ClamanM@LanePowell.com
             JamiesonB@lanepowell.com
Attorneys for Defendants Cheryl Chapman,
Sheryl Snyder, and Advantage RN, LLC



                                    IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA AT ANCHORAGE
WILLIAM TATE, individually, and SUSIE
SOURS as Co-Guardians of CYNTHIA
TATE, and M.T., G.T., M.T., T.T., and M.T.,
Minor Children,
                                                Plaintiffs,
                                                                 Case No. 3:14-cv-00242-JWS
v.
UNITED STATES OF AMERICA; SHC
SERVICES, INC., d/b/a SUPPLEMENTAL                                     NOTICE OF SETTLEMENT
PHYSICIANS; DOUG AMIS; CHERYL
CHAPMAN; and ADVANTAGE RN, LLC,
and SHERYL SNYDER,
                                              Defendants.
           Defendants Advantage RN, LLC and Sheryl Snyder, through counsel, Lane Powell LLC,
notify the Court that they have settled this matter with Plaintiffs. The final paperwork is being
prepared and the parties expect that this settlement will be fully consummated within 30 days of
the filing of this notice.
           DATED this 6th day of April, 2017.

                                                              LANE POWELL LLC
                                                              Attorneys for Defendants Cheryl Chapman,
I certify that on April 6, 2017, a copy of                    Sheryl Snyder, and Advantage RN, LLC
the foregoing was served electronically on:
David Henderson, dh@henderson-law.com
Richard Pomeroy, richard.pomeroy@usdoj.gov                    By s/ Brewster H. Jamieson
Bryan Wilson, bryan.wilson@usdoj.gov
                                                                Matthew W. Claman, ABA No. 8809164
s/ Brewster H. Jamieson
                                                                Brewster H. Jamieson, ABA No. 8411122



             Case 3:14-cv-00242-JWS Document 149 Filed 04/06/17 Page 1 of 1
